 8:03-cr-00263-JFB-TDT            Doc # 51   Filed: 03/14/06   Page 1 of 1 - Page ID # 126




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )            Case No. 8:03CR263
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                   ORDER
TAMMY L. LUSTER,                             )
                                             )
                     Defendant.              )

       This case came before the court on a Petition for Action on Conditions of Pretrial
Release (#47). Defendant appeared before the court on March 14, 2006. Assistant
Federal Public Defender Michael Maloney represented the defendant; Assistant United
States Attorney Douglas Semisch represented the government. The defendant admitted
the allegations. The court finds the defendant violated the conditions of release. The
Order Setting Conditions of Release (#44) is revoked.
       IT IS ORDERED:
       1. The Petition for Action on Conditions of Pretrial Release (#47) is granted;
       2. The Order Setting Conditions of Release (#44) is hereby revoked; and
       3. Defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a correctional facility separate, to the extent practicable,
from persons awaiting or serving sentence or being held in custody pending appeal.
Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of the Court of the United States or on the request of an attorney for the
Government, the person in charge of the correctional facility shall deliver Defendant to the
United States Marshal for purpose of an appearance in connection with a court proceeding.
       Dated this 14th day of March, 2006.

                                             BY THE COURT:


                                             s/Joseph F. Bataillon
                                             United States District Judge
